   Case 4:16-cv-00751-MW-CAS      Document 18-1     Filed 04/21/17   Page 1 of 2




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF FLORIDA

ROQUE “ROCKY” DE LA FUENTE                      :
GUERRA,                                         :
                                                :     CIVIL ACTION
Plaintiff,                                      :
                                                : No. 4:16-cv-751-MW/CAS
      v.                                        :
                                                :
DR. BRENDA C. SNIPES, both in her official :
capacity as the Broward County Supervisor       :
of Elections and in her personal capacity; and, :     PROPOSED ORDER
KEN DETZNER, in his official capacity as the :
Florida Secretary of State                      :
                                                :     Filed Electronically
Defendants.                                     :

                             PROPOSED ORDER

AND NOW, this ______ day of ________, 2017, upon consideration of the

“Motion to Dismiss by Ken Detzner” (Doc. #11); the “Motion to Dismiss by

Brenda Snipes” (Doc. #13); and “Plaintiff’s Consolidated Brief in Opposition to

Defendants’ Motions to Dismiss” (Doc. #18), it is hereby ORDERED that:

      1.    The Motion to Dismiss by Ken Detzner (Doc #11) is DENIED; and

      2.    The Motion to Dismiss by Brenda Snipes (Doc #13) is DENIED; and

      3.    Plaintiff’s time to serve defendants is retroactively extended to March

            22, 2017.

                                      BY THE COURT:

                                      _________________________________
                                      Hon. Mark E. Walker, USDJ
   Case 4:16-cv-00751-MW-CAS        Document 18-1      Filed 04/21/17   Page 2 of 2




                          CERTIFICATE OF SERVICE

      I, Paul A. Rossi, attorney for plaintiff, admitted pro hac vice, hereby certify

that on April 21, 2017, I personally caused to be served on all parties in this action,

including opposing counsel of record, a true and correct copy of the foregoing

document on opposing counsel through the Court’s ECF system.


Dated: April 21, 2017                          ___/s/Paul A. Rossi, Esq_______
                                               Paul A. Rossi, Esq.
